              Case 22-11068-JTD         Doc 24701       Filed 09/13/24      Page 1 of 1




                              UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE
-------------------------------------------------------------------x
In re                                                              : Chapter 11 Case No.
                                                                   :
FTX TRADING LTD., et al.,                                          : 22-11068-JTD
                                                                   :
                                    Debtors.                       : (Jointly Administered)
-------------------------------------------------------------------x

                 NOTICE OF WITHDRAWAL AND REMOVAL OF
          NOTICE OF TRANSFER OF CLAIM OTHER THAN FOR SECURITY

Boston Patriot Arlington St LLC, by its undersigned counsel, hereby withdraws the following

Notice of Transfer of Claim Other Than for Security:

        Docket Number 24381, filed on September 9, 2024.

In addition, Boston Patriot Arlington St LLC, by its undersigned counsel, hereby requests the

removal from the docket the document filed under such Docket Number.

Dated: September 13, 2024


                                                /s/ Edward J. Leen
                                                Edward J. Leen

                                                MANDEL, KATZ & BROSNAN LLP
                                                100 Dutch Hill Road, Unit 390
                                                Orangeburg, New York 10962
                                                (845) 639 7800

                                                Attorneys for Boston Patriot Arlington St LLC




032-8300/7133932.1
